






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00611-CR






Christian Mercado-Ortiz, Appellant


v.


The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 59733, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M  O P I N I O N


		Appellant Christian Mercado-Ortiz pleaded guilty to the offense of theft over $1,500
but less than $20,000.  See Tex. Penal Code Ann. § 31.03(e)(4)(A) (West Supp. 2006).  The district
court adjudged him guilty and sentenced him to two years in state jail.  

		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);  High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978);  Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); 
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);  Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed. 


		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

		The judgment of conviction is affirmed. 


							____________________________________

							Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   June 26, 2007

Do Not Publish


